092419.0015 .2V . 01232905 .001                                                                                 1903562 . Court.278
              Case 19-03562-5-SWH              United
                                               Doc 12 States Bankruptcy
                                                       Filed 09/25/19   Court09/25/19 11:16:12
                                                                      Entered                      Page 1 of 2
                                                                                        19-03562-5-SWH
                                            Eastern District of North Carolina Wilmington Division

                                                                       IN RE
                                                                     WILLIAM WEBSTER VOLLMER
           1903562                                                   109 BALSAM DR
           CHRISTOPHER T. VONDERAU
           LAW OFFICES OF CHRISTOPHER VONDERAU                       WILMINGTON, NC 28409
           4022 SHIPYARD BLVD                                                     SSN or Tax I.D. XXX-XX-9173
           WILMINGTON, NC 28403




           U.S. Bankruptcy Court
           P.O. Box 791                                              Other Names Used:
           Raleigh, NC 27602




                                                                                 CLAIM NO: - Court - A                     U.S.




                                                     OBJECTION TO CONFIRMATION



           The undersigned Chapter 13 Trustee reports to the Court that the plan of the debtor(s) does not meet the requirements of
           11 USC 1325 in that:

           DEBTOR HAS FAILED TO FILE REQUIRED PRE-PETITION TAX RETURNS IN ACCORDANCE
           WITH §§ 1325(a)(9), 1308.
           DEBTOR HAS FAILED TO PROVIDE COPY OF MOST RECENT TAX RETURN IN ACCORDANCE
           WITH §§ 521(e)(2)(A)(i), 1307(c); EDNC LBR 4002-1(a)(2).




           Wherefore, the Chapter 13 Trustee objects to confirmation of the Chapter 13 Plan as proposed and request that
           that the court conduct a hearing on Trustee's objection.




           DATED: September 24, 2019                                      /S/ Joseph A. Bledsoe, III
                                                                          Joseph A. Bledsoe, III
                                                                          Chapter 13 Trustee
                                                                                                           0015
                                  CERTIFICATE
                Case 19-03562-5-SWH                 OF MAILING
                                    Doc 12 Filed 09/25/19 Entered 09/25/19 11:16:12               Page 2 of 2
CASE: 1903562        TRUSTEE: 2V                       COURT: 278                                    Page 1 of 1
TASK: 09-23-2019 .01232905.BLB018                      DATED: 09/24/2019
Court                         Served Electronically

Trustee                       Joseph A. Bledsoe, III                       P.O. Box 1618
                                                                           New Bern, NC 28563
Debtor                        WILLIAM WEBSTER VOLLMER                      109 BALSAM DR
                                                                           WILMINGTON, NC 28409
799             000002        CHRISTOPHER T. VONDERAU       LAW OFFICES OF CHRISTOPHER VONDERAU
                              4022 SHIPYARD BLVD            WILMINGTON, NC 28403
                                                                                      4 NOTICES
         THE ABOVE REFERENCED NOTICE WAS MAILED TO EACH OF THE ABOVE ON 09/24/2019.
         I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
         EXECUTED ON 09/24/2019 BY /S/EPIQ Systems, Inc.

*CM - Indicates notice served via Certified Mail
